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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 17-CV-61786-WILLIAMS/VALLE

   SCOTT A. NIRK,

         Plaintiff,

   v.

   SETERUS, INC. and FEDERAL NATIONAL
   MORTGAGE ASSOCIATION,

         Defendants.
                                                      /

                REPORT AND RECOMMENDATION TO DISTRICT JUDGE

         THIS MATTER is before the Court on Defendant Seterus, Inc.’s (“Seterus”) Motion to

  Dismiss Counts IV-VII of Plaintiff’s Complaint (ECF No. 12) (the “Motion”). United States

  District Judge Kathleen Williams has referred the Motion to the undersigned for a Report and

  Recommendation.      (ECF No. 30).       Accordingly, having reviewed the Motion, Plaintiff’s

  Response (ECF No. 19), and Seterus’ Reply (ECF No. 22), and being otherwise duly advised in

  the matter, the undersigned respectfully recommends that the Motion be GRANTED IN PART

  for the reasons set forth below.

                                      I.     BACKGROUND

         Seterus services the mortgage on Plaintiff’s home. (ECF No. 1 ¶ 3). In this action,

  Plaintiff alleges that Seterus committed several errors servicing and reporting the mortgage and

  that Seterus did not properly acknowledge and respond to Plaintiff’s requests for information and

  notices of error. See generally id.; see also (ECF No. 12 at 2). Plaintiff asserts numerous claims
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  based on these allegations, but only Counts IV and V of Plaintiff’s Complaint are now at issue. 1

  Counts IV and V are both brought under 12 C.F.R. § 1024.35 of Regulation X, which

  implements the Real Estate Settlement Procedures Act (“RESPA”).           In Count IV, Plaintiff

  alleges that Seterus violated Section 1024.35(e) by failing to timely respond to a notice of error

  and failing to perform a reasonable investigation into the alleged errors. (ECF No. 1 ¶¶ 136-

  161). In Count V, Plaintiff alleges that Seterus violated Section 1024.35(i)(1) by improperly

  furnishing adverse credit information to a consumer reporting agency regarding payments that

  were the subject of a notice of error. Id. ¶¶ 162-178. Seterus seeks dismissal of these claims

  solely on the ground that there is no private right of action for violations of Section 1024.35.

  (ECF No. 12 at 3-4).

                                    II.    LEGAL STANDARD

           Under Federal Rule of Civil Procedure 12(b)(6), a court shall grant a motion to dismiss

  where, based upon a dispositive issue of law, the factual allegations of the complaint cannot

  support the asserted cause of action. Glover v. Liggett Grp., Inc., 459 F.3d 1304, 1308 (11th Cir.

  2006).     Indeed, “[f]actual allegations must be enough to raise a right to relief above the

  speculative level.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). Thus, a complaint

  must contain “sufficient factual matter, accepted as true, to ‘state a claim to relief that is

  plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Twombly, 550 U.S.

  at 570).

           Nonetheless, a complaint must be liberally construed, assuming the facts alleged therein

  as true and drawing all reasonable inferences from those facts in the plaintiff’s favor. Twombly,



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    While the Motion seeks dismissal of Counts IV-VII, in response to the Motion, Plaintiff
  withdrew Counts VI and VII. (ECF No. 19 at 2). As such, the undersigned recommends that
  these claims be dismissed with prejudice.
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  550 U.S. at 555. A complaint should not be dismissed simply because the court is doubtful that

  the plaintiff will be able to prove all of the necessary factual allegations. Id. Accordingly, a

  well-pleaded complaint will survive a motion to dismiss “even if it appears that a recovery is

  very remote and unlikely.” Id. at 556 (quoting Scheuer v. Rhodes, 416 U.S. 232, 236 (1974)).

                                         III.    ANALYSIS

         The only issue presented in Seterus’ Motion is whether 12 C.F.R. § 1024.35 provides a

  private right of action. Seterus argues that it does not because while other sections promulgated

  under RESPA explicitly provide a private cause of action by referring to remedies under 12

  U.S.C. § 2605(f), Section 1024.35 makes no such reference. (ECF No. 12 at 3). 2 Seterus

  acknowledges that “Courts are split as to whether 1024.35 provides a private right of action for

  damages,” but maintains that “the better reading of 12 C.F.R. § 1024.35 is that it does not

  provide a private right of action.” Id. at 2-3. The problem for Seterus, however, is that the

  Eleventh Circuit is on the side of the split of authority that recognizes a private cause of action

  under Section 1024.35. See Lage v. Ocwen Loan Servicing LLC, 839 F.3d 1003, 1007 (11th

  Cir. 2016) (“If the servicer fails to respond adequately to the borrower’s notice of error, then the

  borrower has a private right of action to sue the servicer under RESPA.”); Renfroe v. Nationstar

  Mortg., LLC, 822 F.3d 1241, 1245 (11th Cir. 2016). Moreover, as discussed below, even if the

  Court were to accept Seterus’ argument that the Eleventh Circuit’s pronouncements on this issue




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    Seterus also appears to argue that dismissal of Counts IV and V is warranted based on
  Plaintiff’s failure to reference 12 U.S.C. § 2605(f) in Counts IV or V or request relief in the form
  of damages provided under Section 2605(f). (ECF No. 22 at 3). Seterus, however, raised this
  argument for the first time in its Reply, and it is therefore not properly considered. See, e.g.,
  Herring v. Sec’y, Dep’t of Corr., 397 F.3d 1338, 1342 (11th Cir. 2005) (“As we repeatedly have
  admonished, ‘arguments raised for the first time in a reply brief are not properly before a
  reviewing court.’”) (quoting United States v. Coy, 19 F.3d 629, 632 n.7 (1994)).
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  are merely non-binding dicta, the better reading of Section 1024.35 is that it does provide a

  private right of action.

          First, Seterus’ assertion that there is no private right of action for violations of Section

  1024.35 is contrary to Eleventh Circuit jurisprudence. See Lage, 839 F.3d at 1007; Renfroe, 822

  F.3d at 1245. This should end the inquiry. Seterus, however, argues that Lage is not binding on

  this Court because the statements in that opinion regarding a private right of action under

  1024.35 are dicta. (ECF No. 22 at 3). “Statements in an opinion that are not ‘fitted to the facts,’

  or that extend ‘further than the facts of that case,’ or that are ‘not necessary to the decision of an

  appeal given the facts and circumstances of the case,’ are dicta.” Pretka v. Kolter City Plaza II,

  Inc., 608 F.3d 744, 762 (11th Cir. 2010) (citations omitted). “[D]icta is not binding on anyone

  for any purpose.” Edwards v. Prime, Inc., 602 F.3d 1276, 1298 (11th Cir. 2010).

          Seterus is correct that the Lage court was not directly faced with deciding the issue of

  whether there is a private right of action for violations of Section 1024.35. Rather, in Lage, the

  district court had granted summary judgment to a loan servicer on the borrower’s Section

  1024.35 claim because it had “concluded that [the] [b]orrowers had presented sufficient evidence

  to prove a violation of the regulation but failed to provide evidence of statutory or actual

  damages as required to sustain a claim under § 1024.35(e).” 839 F.3d at 1008. The Eleventh

  Circuit affirmed based on the borrower’s failure to present evidence that they suffered actual

  damages or were entitled to statutory damages. Id. at 1005. In setting forth the legal principles

  governing the borrower’s claims, however, the Eleventh Circuit explained the obligations of

  servicers with respect to notices of error submitted by borrowers and, importantly, stated that

  “[i]f the servicer fails to respond adequately to the borrower’s notice of error, then the borrower




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  has a private right of action to sue the servicer under RESPA.” Id. at 1007 (citing 12 U.S.C.

  § 2605(e)(2), (f)).

          In arguing that this statement is non-binding dicta, Seterus characterizes it as merely an

  “observation . . . in [the opinion’s] background fact section.” (ECF No. 22 at 3). But the Court

  is not persuaded that the Eleventh Circuit’s view on this issue can be cast aside so easily, even if

  it may not have been strictly necessary to the specific holding in Lage. For one, there is

  authority supporting this Court’s adherence to the explanations of the governing rules of law by

  higher courts.        See Cty. of Allegheny v. Am. Civil Liberties Union, Greater Pittsburgh

  Chapter, 492 U.S. 573, 668, 109 S. Ct. 3086, 106 L. Ed. 2d 472 (1989) (KENNEDY, J.,

  concurring in judgment in part and dissenting in part) (“As a general rule, the principle of stare

  decisis directs us to adhere not only to the holdings of our prior cases, but also to

  their explications of the governing rules of law.”); Int'l Truck & Engine Corp. v. Bray, 372 F.3d

  717, 721 (5th Cir. 2004) (“A statement is not dictum if it is necessary to the result or constitutes

  an explication of the governing rules of law.”) (citation and internal quotation marks omitted).

  Moreover, even if the Eleventh Circuit’s statements in Lage regarding a private right of action

  under Section 1024.35 were merely dicta and were not binding on this Court, “[d]icta can, of

  course, have persuasive value.” Pretka, 608 F.3d at 762. Thus, even if the Court were not bound

  to follow Lage, the Eleventh Circuit’s statement in that opinion regarding the existence of a

  private right of action under Section 1024.35 is nevertheless highly persuasive.

          Notably, Lage is not the only time that the Eleventh Circuit has recognized a private right

  of action under Section 1024.35. In Renfroe v. Nationstar Mortgage, LLC, 822 F.3d 1241, 1243




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  (11th Cir. 2016), 3 the plaintiff claimed that her mortgage servicer “had violated RESPA by

  failing to reasonably investigate the error she pointed out in her account, by failing to adequately

  respond to her notice of error, and by failing to refund her overpayments.” The district court

  granted the mortgage servicer’s motion to dismiss for failure to state a claim, but the Eleventh

  Circuit reversed, holding that the plaintiff had stated a RESPA violation because she plausibly

  alleged:

         (1) that Nationstar did not offer a “written explanation” stating the “reason or
         reasons for [its] determination,” in violation of 12 U.S.C. § 2605(e)(2)(B) and 12
         C.F.R. § 1024.35(e)(1)(i)(B);

         (2) that this failure indicated Nationstar’s investigation was unreasonable, in
         violation of 12 U.S.C. § 2605(e)(2)(B) and 12 C.F.R. § 1024.35(e)(1)(i)(B); and

         (3) that Nationstar’s unreasonable investigation prevented it from discovering and
         appropriately correcting the account error, in violation of 12 U.S.C.
         § 2605(e)(2)(A) and 12 C.F.R. § 1024.35(e)(1)(i)(A).

  Id. at 1245 (emphasis added). Seterus makes no attempt to distinguish Renfroe, and the Eleventh

  Circuit’s recognition of a private right of action under Section 1024.35 in Renfroe is clearly not

  dicta. This binding precedent requires the Court to deny Seterus’ Motion as to Counts IV and V.

         Moreover, even if Seterus is correct that there is no current private right of action under

  Section 1024.35 in Eleventh Circuit jurisprudence, the Court nevertheless concludes that the

  better reading of Section 1024.35 is that it does provide a private right of action. As Plaintiff

  notes, many of the cases relied upon by Seterus spring from Miller v. HSBC Bank U.S.A., N.A.,

  No. 13-cv-7500, 2015 WL 585589 (S.D.N.Y. Feb. 11, 2015). There, the court held that Section

  1024.35 does not provide a private right of action “[b]ecause Section 1024.35 includes the

  remedies available, and because a private right of action for alleged damages is not among



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   Seterus does not address Renfroe, which was also cited in Plaintiff’s Response. (ECF No. 12 at
  3).
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  them.” Id. at *11. The Miller court thus relied on the principle that “when legislation expressly

  provides a particular remedy or remedies, courts should not expand the coverage of the statute to

  subsume other remedies.” Id. (quoting Nat’l R.R. Passenger Corp. v. Nat’l Ass’n of R.R.

  Passengers, 414 U.S. 453, 458 (1974)).

         But Section 1024.35 does not expressly provide “a particular remedy or remedies.” The

  Miller court pointed to Section 1024.35(i), entitled “Effect of servicer remedies,” but this

  subsection plainly only addresses the effect that a notice of error from a borrower has on the

  servicer’s already existing legal rights and remedies—it does not create any new remedies.

  Specifically, Section 1024.35(i)(1) provides that for the sixty days following receipt of a notice

  of error, a servicer “may not . . . furnish adverse information to any consumer reporting agency

  regarding any payment that is the subject of the notice of error.” Section 1024.35(i)(2) then

  affirms that, with limited exceptions, “nothing in this section shall limit or restrict a lender or

  servicer from pursuing any remedy it has under applicable law, including initiating foreclosure or

  proceeding with a foreclosure sale.” Thus, as Section 1024.35 does not expressly provide for

  any remedies, recognizing a private cause of action for violations of Section 1024.35 cannot be

  said to impermissibly expand upon the statute’s remedies.

         Seterus also relies upon Willson v. Bank of Am., N.A., No. 15-cv-14303, 2016 WL

  8793204 (S.D. Fla. May 2, 2016). Not only was Willson decided prior to Lage and Renfroe, but

  the Willson court only briefly discussed Section 1024.35, finding on summary judgment that it

  does not provide a private right of action because, unlike other sections promulgated under

  RESPA, it does not explicitly refer to remedies under 12 U.S.C. § 2605(f). 4 Id. at *8. This



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   Moreover, Seterus acknowledges that in deciding Willson, the Eleventh Circuit did “not affirm
  on the ground that no private right of action . . . exists, nor [did it address] the lower court’s
  conclusion of same.” (ECF No. 22 at 2).
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  analysis, however, overlooks the fact that Section 1024.35 was promulgated pursuant to Section

  6 of RESPA, see 78 Fed. Reg. 10737 (Feb. 14, 2013), and that the Consumer Financial

  Protection Bureau—which is tasked with establishing the requirements necessary to carry out

  Section 6 of RESPA, see 12 U.S.C. § 2605(j)(3)—has stated that “regulations established

  pursuant to section 6 of RESPA are subject to section 6(f) of RESPA, which provides borrowers

  a private right of action to enforce such regulations.” 78 Fed. Reg. 10715 n.64 (Feb. 14, 2013).

            Lastly, RESPA is a remedial consumer protection statute, and should be construed

  liberally. Renfroe, 822 F.3d at 1244. Thus, in light of the clear evidence of an intent that Section

  1024.35 provide a private right of action and the decisions from the Eleventh Circuit and other

  jurisdictions 5 recognizing such a right of action, the Court concludes that Plaintiffs’ Motion

  should be denied as to Counts IV and V of Plaintiff’s Complaint.

                                    IV.     RECOMMENDATION

            Accordingly, the undersigned respectfully RECOMMENDS that Defendant Seterus,

  Inc.’s Motion to Dismiss Counts IV-VII of Plaintiff’s Complaint (ECF No. 12) be GRANTED

  IN PART. Specifically, Counts VI and VII of Plaintiff’s Complaint should be DISMISSED

  WITH PREJUDICE. The Motion should be DENIED in all other respects.

            Within fourteen (14) days after being served with a copy of this Report and

  Recommendation, any party may serve and file written objections to any of the above findings

  and recommendations as provided by the Local Rules for this district. 28 U.S.C. § 636(b)(1);

  S.D. Fla. Mag. R. 4(b) (allowing 14 days for written objections unless a different time is

  prescribed by the Court). The parties are hereby notified that a failure to timely object waives the

  right to challenge on appeal the district court’s order based on unobjected-to factual and legal



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      See (ECF No. 19 at 3-4) (collecting cases).
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  conclusions contained in this Report and Recommendation. 11th Cir. R. 3–1 (2016); see Thomas

  v. Arn, 474 U.S. 140 (1985).

         DONE AND ORDERED in Chambers at Fort Lauderdale, Florida, on March 21, 2018.




                                             _________________________________________
                                             ALICIA O. VALLE
                                             UNITED STATES MAGISTRATE JUDGE


  cc:    U.S. District Judge Kathleen Williams
         All Counsel of Record




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